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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

KYLE JUSTICE and ANNALEAH                   )
JUSTICE,                                    )
                                            )
       Plaintiffs,                          )
                                            )
  v.                                        )         No. 4:22-cv-00050-AGF
                                            )
BESTWAY (USA), INC., and RURAL              )
KING HOLDINGS, LLP,                         )
                                            )
       Defendants,                          )
                                            )
and                                         )
                                            )
BESTWAY (USA), INC.,                        )
                                            )
       Third-Party Plaintiff,               )
                                            )
  v.                                        )
                                            )
MARY FLAKE and PATRICK FLAKE,               )
                                            )
       Third-Party Defendants,              )
                                            )
and                                         )
                                            )
RURAL KING HOLDINGS, LLP,                   )
                                            )
       Cross Claimant,                      )
                                            )
  v.                                        )
                                            )
MARY FLAKE and PATRICK FLAKE,               )
                                            )
       Cross Defendants,                    )
                                            )
and                                         )
                                            )
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RURAL KING HOLDINGS, LLP,                     )
                                              )
        Third-Party Plaintiff,                )
                                              )
   v.                                         )
                                              )
BESTWAY (HONG KONG)                           )
INTERNATIONAL LIMITED and                     )
BESTWAY INFLATABLES &                         )
MATERIALS CORPORATION,                        )
                                              )
        Third-Party Defendants.               )

                             MEMORANDUM AND ORDER

        This matter is before the Court on Defendant Rural King Holdings, LLP’s Motion

for Reconsideration. ECF No. 150. Plaintiffs have filed their response. ECF No. 153.

Rural King filed its reply. ECF No. 156. On November 19, 2024, the Court heard oral

argument on the Motion. ECF No. 162. On November 26, 2024, Plaintiffs and Rural

King filed supplemental memoranda in support of their positions. ECF Nos. 164 and

165. This matter is now fully briefed a ripe for disposition. For the reasons explained

below, the Court will grant Rural King’s Motion.

                                        Background

        Rural King asks this Court to reconsider its previous Order granting in part and

denying in part Rural King’s motion for summary judgment. ECF No. 146. Rural King

specifically asks the Court to reconsider its denial of Rural King’s request for dismissal

under the Missouri innocent seller statute, Mo. Rev. Stat. § 537.762. The Court twice

rejected this argument, first at the motion to dismiss stage and again as raised in Rural

King’s motion for summary judgment. As to Rural King’s motion for summary


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judgment, the Court found that it was not appropriate to dismiss Rural King as a

Defendant because Rural King had not adequately shown that the product’s manufacturer

or another entity upstream from Rural King was properly before the Court as a defendant.

See ECF No. 146 at 12–16.

       At the time it ruled on Rural King’s motion for summary judgment, the Court

found that it was undisputed that Bestway (USA) did not sell the pool to Rural King or

otherwise participate in the stream of commerce. Id. at 12 and 14. But in deciding the

motion for summary judgment filed by Bestway (USA), the Court found that there is

record evidence upon which a reasonable jury could find that Bestway (USA) placed the

pool in the stream of commerce, namely its admissions that it marketed the pool in the

US market, facilitated the sale of the pool to Rural King, and earned a commission off of

that sale. ECF No. 157 at 21. So, while the Court previously found that Rural King had

not shown that another participant in the stream of commerce was a defendant properly

before the court, evidence indicates that Rural King can now make such a showing as to

Bestway (USA).

       Plaintiffs argue in their supplemental memorandum that Malone v. Schapun, Inc.,

965 S.W.2d 177 (Mo. Ct. App. 1997) stands for the contention that the innocent seller

statute “does not permit dismissal of another defendant whose liability is also based

solely on its status as a seller in the stream of commerce . . . .” ECF No. 164 at 1.

Indeed, the Malone court states that “[u]nder section 537.762, dismissal is only proper

where the defendant’s liability is based solely on its status as a seller in the stream of

commerce.” 965 S.W.2d at 182. Similarly, the court stated that “[a]n innocent seller

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under section 537.762 should not be dismissed unless the injured party is ensured that

another defendant, who is not an innocent seller, is properly before the court and can

satisfy the injured party’s claim.” Id.

        Rural King asserts in its supplemental memorandum the Malone court’s

statements are “extra-statutory language” that are not controlling here. Even so, Rural

King argues that, taking the Malone court’s statement as controlling, Rural King’s

dismissal is still proper. Rural King contends that Bestway (USA) cannot now contend

that it is an innocent seller in the stream of commerce because Bestway (USA) has failed

to previously assert such a defense. ECF No. 165 at 2. According to Rural King, by not

raising the innocent seller defense in its answer or filing a motion to dismiss based on the

innocent seller statute, Bestway (USA) has waived the defense and cannot be dismissed

as an innocent seller. 1 Rural King avers that Bestway (USA) is therefore a proper

defendant before the court from which Plaintiffs can obtain total recovery and Rural King

should be dismissed as an innocent seller per Mo. Rev. Stat. § 537.762.

                                          Discussion

        The Court has carefully considered the arguments and case law cited by the

parties—as well as a key change in circumstance since its ruling in Rural King’s motion

for summary judgment—and now finds that Rural King is entitled to dismissal under the

Missouri innocent seller statute. In its motion for reconsideration, Rural King makes



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       Indeed, Bestway (USA) offered no such suggestion during oral argument when the
Court explored reconsideration and what the impact could be if reconsideration were
granted.
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many of the same arguments it made in its motion for summary judgment. However,

since issuing its Order on the Rural King motion for summary judgment, the Court has

developed its understanding of Defendant Bestway (USA) Inc.’s role in the sale of the

pool. Because evidence now indicates that another defendant in this case, Bestway

(USA), was a seller in the stream of commerce, the Court believes that Rural King has

fulfilled its obligations under the innocent seller statute and therefore is entitled to

interlocutory dismissal.

       Under Mo. Rev. Stat. § 537.762, “[a] defendant whose liability is based solely on

his status as a seller in the stream of commerce may be dismissed from a product liability

claim [when] another defendant, including the manufacturer, is properly before the court

and from whom total recovery may be had for plaintiff’s claim.” At oral argument, the

Court asked Plaintiffs and Rural King whether the statute permits dismissal of an

innocent seller when another participant in the stream of commerce, but not the

manufacturer, was a defendant in the case. The Court permitted Plaintiffs and Rural King

seven days to submit additional briefing on this issue. After reviewing the briefing and

the cases cited therein, the Court finds that Mo. Rev. Stat. § 537.762 permits the

dismissal of an innocent seller when a defendant higher up in the stream of commerce,

but not necessarily the manufacturer, is properly before the court as a defendant.

       The Court finds instructive the ruling in Davis v. Dunham’s Athleisure Corp., 362

F. Supp. 3d 651 (E.D. Mo. 2019). There, the defendant-retailer sought dismissal under




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the innocent seller statute at the summary judgment stage. 2 Importantly, the court found

that, because the product’s manufacturer and designer were not party-defendants in the

suit, “perhaps [defendant-importer], as the only accessible up-stream defendant, can

satisfy a total recovery in plaintiff’s favor should he win at trial.” Id. at 659. However,

the court reasoned that dismissal was not proper because the defendant-retailer had not

presented sufficient evidence showing that plaintiff could have obtained total recovery

from the defendant-importer. Id. (“[Defendant-retailer] is given innocent seller status,

but the protection of that status is contingent on a full recovery from [defendant-importer]

in the event [defendant-importer] is found liable. The motion for summary judgment . . .

is therefore denied.”).

        The Court finds compelling Rural King’s argument that Bestway (USA) is not an

innocent seller because it has waived such a defense. This argument coupled with

evidence that Bestway (USA) was an upstream seller in the stream of commerce has

convinced the Court that Rural King, as an innocent seller, should be dismissed from this

case unless and until Plaintiffs are unable to recover a total award from Bestway (USA). 3



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        The court had previously denied the defendant-retailer’s motion to dismiss under
the innocent seller statute because plaintiff had raised warranty claims, and not just strict
liability claims, against the defendant-retailer.
3
        Mo. Rev. Stat. § 537.762.6 states that “[a]n order of dismissal under this section
shall be interlocutory until final disposition of plaintiff’s claim by settlement or judgment
and may be set aside for good cause shown at anytime prior to such disposition.” The
Court interprets this section as permitting interlocutory dismissal here of Rural King,
which may be set aside if Plaintiffs are unable to obtain total recovery from Bestway
(USA). Rural King specifically admits that, “[i]f a verdict is rendered in favor of
Plaintiffs, and it is thereafter established that Plaintiffs are unable to obtain ‘total
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This outcome gives the necessary weight to the innocent seller statute’s “substantive

public policy choice of significant importance.” Gramex Corp. v. Green Supply, Inc., 89

S.W.3d 432, 445 (Mo. 2002) (en banc) (“To the extent that a plaintiff can otherwise

obtain ‘total recovery’, all liability of a downstream seller, which would otherwise be

jointly and severally liable to plaintiff for damages and subject to contribution from the

other defendants, is shifted to upstream defendants, including the manufacturer.”)

(footnote omitted).

        Additionally, unlike in Davis, Rural King has presented evidence that Bestway

(USA) can satisfy the judgment Plaintiffs might reasonably obtain. Id. at 445–46. Here,

Rural King has presented evidence that Bestway (USA) is a solvent, ongoing business

and that it has insurance coverage. See ECF Nos. 101-3 (insurance policies issued by

Cincinnati Insurance Company to Bestway (USA) 4 for total aggregate coverage of $7

million) and 101-5 (list of all products Rural King alone purchased from Bestway in

2019, totaling $4,611,403). Although Plaintiff has argued that the reference to sales from

“Bestway” is ambiguous, no party conducted any further discovery on this matter or

presented any evidence to the contrary. This evidence is sufficient to meet Rural King’s

“minimal burden” to show that Plaintiffs can obtain total recovery from Bestway (USA).

Wallace v. R.J. Reynolds Tobacco Co., No. 09-01011-CV-W-REL, 2010 WL 11579047,




recovery’ from [Bestway (USA)], a dismissal in favor of Rural King could be set aside
and Plaintiffs could assert its judgment against Rural King.” ECF No. 150 at 10–11.
4
       Third-party Defendants Bestway (Hong Kong) International Limited and Bestway
Inflatables & Materials Corporation are also named insureds under these policies.
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at *5 (W.D. Mo. Aug. 12, 2010); see also Letz v. Turbomeca Engine Corp., No. 93-1058-

CV-W-6, 1993 WL 469182, at *1 (W.D. Mo. Nov. 15, 1993) (holding that dismissal

under the innocent seller statute does not require “elaborate financial inquiries but simply

bringing parties before the court against whom judgment could be entered for the full

amount of the loss.”). Additionally, Rural King has acknowledged that its dismissal

would be interlocutory, and that it could be held liable in the event of any deficiency.

What is more, this case presents extremely unique facts. The designer and manufacturer

have been in this case as parties for quite some time, and Plaintiffs could have asserted

claims against them but have repeatedly chosen not to do so.

       Further, as Rural King has argued from the outset, under the unique facts of this

case, reconsideration gives effect to the purpose of the statute. Here, Plaintiffs raised

claims only against Rural King and Bestway (USA). After discovery indicated that

neither of these parties was the pool’s designer or manufacturer, Plaintiff made no

attempt to add the designer or manufacturer as defendants. Instead, Rural King filed a

third-party complaint raising claims against the Third-party Defendants Bestway (Hong

Kong) and Bestway I&M for negligence and strict liability related to their roles in

designing and manufacturing the pool. Plaintiffs could assert claims against these Third-

party Defendants but have simply elected not to. Nor have Plaintiffs requested any

alternative relief, either in response to Rural King’s initial summary judgment motion or

on reconsideration, were the Court to grant dismissal of Rural King. Permitting Plaintiffs

to maintain their strict liability claims as to Rural King—who is now defending against

claims only under theories of strict liability—would allow Plaintiffs to undermine the

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statute’s intended protections for otherwise innocent retailers. See Gramex, 89 S.W.3d at

446 (“It is clear that [Missouri’s] legislature sought to protect ‘innocent’ wholesalers and

retailers from the perils of products liability claims . . . by section 537.762.”).

Reconsideration is appropriate here to give effect to the innocent seller statute’s intended

purpose.

                                         Conclusion

         Accordingly,

         IT IS HEREBY ORDERED that Rural King Holdings, LLP’s Motion for

Reconsideration (ECF No. 150) is GRANTED.

         A separate order of dismissal of Rural King Holdings, LLP will accompany this

Order.

         Dated this 30th day of December, 2024.



                                                AUDREY G. FLEISSIG
                                                UNITED STATES DISTRICT JUDGE




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